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                                                           October 16, 2020
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Hon. Richard J. Sullivan      3HDUO6WUHHW1HZ<RUN1<,7,6)857+(5
United States Circuit Judge   25'(5(' 7+$7 WKH GHIHQGDQW VKDOO ILOH KLV
Thurgood Marshall             VHQWHQFLQJ VXEPLVVLRQ E\ 'HFHPEHU   DQG
United States Courthouse      WKH JRYHUQPHQW VKDOO ILOH LWV VHQWHQFLQJ
40 Foley Square               VXEPLVVLRQE\'HFHPEHU
New York, New York 10007


              Re: United States v. Darren Miller, 18 Cr. 373

                                                       10/16/2020
Dear Judge Sullivan:

        I represent Darren Miller, who is currently scheduled to be sentenced on October 27,
2020. I am respectfully requesting that the sentencing be adjourned for approximately 60 days
to allow us to complete our sentencing submission, which has been delayed due to ongoing
poor access to our client during the pandemic by our mitigation specialist.

        Mr. Miller has personally requested that I ask the Court for the additional time. Mr.
Miller is requesting to appear before the Court in person.

       The Government consents to this request.

       Thank you for your consideration.




                                                            Respectfully subm
                                                                         submitted,




                                                           Peter E. Brill
